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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

NUVASIVE, EINC.,
Plaintiff,
Civil Action No. 1:19-cv-10995-DJC
¥

ADAM RICHARD,
Defendant.

 

DEFENDANT ADAM RICHARD’S OBJECTION TO PRODUCTION OF
DOCUMENTS, MOTION TO QUASH OR, IN THE ALTERNATIVE,
MOTION FOR A PROTECTIVE ORDER AS TO NUVASIVE, INC.’S

SUBPOENA TO PRODUCE DOCUMENTS TO SPRINT SPECTRUM, L.P.

Pursuant to Rule 45(d) of the Federal Rules of Civil Procedure (the “Federal
Rules”), Defendant Adam Richard (“Richard” or “Defendant”) hereby objects and
moves to quash the Subpoena to Produce Documents, Information, or Objects or to
Permit Inspection of Premises in a Civil Action to Sprint Spectrum, L.P. (“Sprint”)
dated July 17, 2019 (the “Subpoena”), issued by NuVasive, Inc. (“Plaintiff’ or
“NuVasive”) (See Ex. A, Subpoena).

INTRODUCTION

NuVasive is attempting to obtain Richard’s personal cell phone records,
including personal text messages and those protected by attorney-client privilege.
The requested records are clearly outside the discovery limits and the requested

information is an invasion of Defendant’s private business affairs unrelated to the

claims and defenses raised in this action. NuVasive should not be granted
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unrestricted access to all of Defendant’s personal cell phone records without having
to show relevancy to the claims raised. Defendant has a legitimate expectation of
privacy in maintaining the confidentiality of his cell phone records and,
specifically, text messages. NuVasive’s unrestricted request for Defendant’s cell
phone records are harassing in nature. As such, this Court should quash NuVasive’s
Subpoena to Sprint.
RELEVANT FACTS
NuVasive filed its Complaint on or about April 26, 2019 asserting claims against
Day for breach of contract and seeking injunctive relief. (See gen. Doc. 1,
Complaint.) NuVasive’s claims arise from a January 5, 2018 Proprietary
Information, Inventions, Assignment, Arbitration and Restrictive Covenant
Agreement (“PITA”) executed by Defendant Adam Richard.
On July 17, 2019, NuVasive issued non-party subpoena to produce documents
to Sprint. The July 17, 2019 subpoena to Sprint called for production of:
“All subscriber information, billing information, features,
originating/outgoing calls, terminating/incoming calls, and
SMS/MMsS/text/data for (561) 305-3541 from June 1, 2018, through the
present. To further clarify, this subpoena does not request the content of any
such communication.”
(See Ex. A, Subpoena). The above cell phone numbers belong to Defendant

Richard. This Subpoena is grossly over broad because they request documents

and information that are immaterial, not relevant, privileged, confidential and are
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not proportional to claims and defenses raised. As such, this Court should quash
NuVasive’s Subpoena to Sprint.
MEMORANDUM OF LAW

The Court may, on motion or on its own, limit the extent of discovery “if it
determines that . . . the proposed discovery is outside the scope permitted by Rule
26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C)(iii). The [dJiscovery sought from a non-
party via a subpoena duces tecum, issued pursuant to Federal Rule of Civil
Procedure 45, is subject to the same standards applicable to the other discovery
rules. Horizons Titanium Corp. v. Norton Co., 290 F.2d. 421" Cir. 1961).
Defendant has standing to challenge the Subpoenas because he has a personal
interest in the privacy of his cell phone records. A party has standing to challenge
a subpoena served on a third party where that party has a personal right or privilege
with respect to the materials subpoenaed. Combat Zone, Inc. y. Does | -84,
2013WL1092132 at *1 (D. Mass. Feb. 20, 2013). Courts must quash or modify a
subpoena that requires disclosure of privileged or other protected matter, if no
exception or waiver applies, London-Sire Records, Inc. v. Doe I, 542 F. Supp. 2d
153, 162 (D. Mass. 2008); Fed. R. Civ. P. 45(c)(3)(A)(iti). On the other hand, courts
may issue protective orders for "good cause" to “protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense" by, among

other things, "forbidding inquiry into certain matters, or limiting the scope of
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disclosure or discovery to certain matters." Patrick Collins, Inc. v. Does 1-79, 286
F.R.D. 160, 166 (D. Mass. 2012); Fed. R. Civ. P. 26(c). A party has standing to
move for a protective order where the subpoenas seek irrelevant information.
Bogan v. City of Boston, 489 F.3d 417, 423 (1st Cir, 2007). In the instant case,
this Court should quash the Subpoena as it is overly broad and seeks irrelevant,
and possibly privileged materials, and is not proportional to the needs of the case.

I. NuVasive’s Subpoena Requests Documents and Information that is

Irrelevant to the Claims and Defenses in this Action.

Courts have wide discretion when setting discovery limits. Ameristar Jet
Charter, Inc. v. Signal Composites, Inc., 244 F.3d. 189, 193 (1% Cir. 2001),
Although the scope of discovery under the Federal Rules is relatively broad, it is not
unlimited. There are ultimate and necessary boundaries to discovery. Oppenheimer
Fund Inc. v. Sanders, 437 U.S. 340, 351 (1978). Documents are not discoverable if
they are not relevant, and the party seeking the discovery bears the burden to prove
its requests are relevant. Jd. at 504; In re Lernout & Hauspie Sec. Litig., 214 F.
Supp. 2d. 100, 106 (D. Mass. 2002).

Furthermore, discovery must also be proportional to the needs of the case.
Cumby v. Am. Med. Response, Inc., 3:18CV30050-MGM, 2019WL1118103, at *3
(D. Mass. Mar. 11, 2019). The Court should start with the actual claims and defenses

in the case, and a consideration of how and to what degree the requested discovery

bears on those claims and defenses. Discovery is designed to help define and clarify
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the issues. /d. In order to satisfy the proportionality requirement, the requested
information “must be more than tangentially related to the issues that are actually at
stake in the litigation.” Sec. & Exch. Comm’n v. Navellier & Associates, Inc., CV17-
11633-DJC, 2019WL688164, at *2 (D. Mass. Feb. 19, 2019). Discovery is not a
license to engage in a fishing expedition. Milazzo v. Sentry Ins., 856 F. 2d 321, 322
(1* Cir. 1988) (citing to MacKnight v. Leonard Morse Hosp., 828 F.2d 48, 52 ch
Cir. 1987).

Here, NuVasive is requesting all information related to Richard’s cel]
phone number, which necessarily encompasses text messages and phone calls that
are personal in nature and unrelated to this case. It is unclear what information
NuVasive is seeking by requesting this information or how it relates to the claims
in the Complaint. As such, the Subpoena should be quashed.

II. NuVasive’s Subpoena is Overly Broad and Exceeds the Scope of

Discovery in this Action.

Further, allowing NuVasive unrestricted access to Defendant’s cell phone
records exceeds the scope of reasonable discovery in this case. See Sovereign
Partners Ltd. P'ship v. Rest. Teams Int'l, Inc., 1999 U.S. Dist. LEXIS 17014, 1999
WL 993678, at *4 (S.D.N.Y. Nov. 2, 1999) ("The fact that the telephone records
contain relevant information and are not privileged does not mean, however, that

they are subject to unlimited discovery. The records undoubtedly include

substantial data not pertinent to any aspect of this litigation, including information
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about personal phone calls . . . This raises significant privacy concerns."); see
also Hedenburg v. Aramark Am, Food Servs., 2007 U.S. Dist. LEXIS 3443, 2007
WL 162716, at *2 (W.D. Wash. Jan. 17, 2007) (finding plaintiffs personal e-
mails with third parties wholly unrelated to the central claims of gender
discrimination and wrongful termination, stating that "[d]efendant is hoping
blindly to find something useful in its impeachment of the plaintiff");
Mackelprang v. Fid. Nat'l Title Agency of Nev., Inc., 2007 U.S. Dist. LEXIS 2379,
2007 WL 119149, at *2 (D. Nev. Jan. 9, 2007) ("Defendant is engaging in a
fishing expedition since, at this time, it has nothing more than suspicion or
speculation as to what information might be contained in the private messages").

Moreover, the information contained in the records may be subject to
attorney-client privilege. The attorney-client privilege is one of the oldest
privileges recognized in common law. Swidler & Berlin v. United States, 524 U.S.
399, 118 S. Ct. 2081, 141 L. Ed. 2d 379 (1998). The attorney-client privilege
protects communications between a client and his attorney made in confidence
and for the purpose of securing legal advice. Comm’r of Revenue v. Comcast
Corp., 453 Mass. 293, 303 (Mass. 2009).

Here, NuVasive’s Sprint Subpoena is not sufficiently tailored to avoid
sweeping in a host of irrelevant documents, including private calls and text

messages wholly unrelated to the case, and, more importantly, text messages
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between Defendant and his attorneys, including the undersigned. NuVasive is
seeking unrestricted access to Defendant’s cell phone records from January 1,
2018 to the present. The time span of January 1, 2018 through the present is overly
broad as the only relevant time period is on or around April 1, 2019, the date that
Defendant notified NuVasive he would not continue his relationship with NuVasive.
NuVasive has alleged two (2) causes of action all related to Richard’s alleged breach
of contract or breach of a non-compete and, thus, the relevant time period should be
limited to on or around April 1, 2019, the date that Richard notified NuVasive he
was ending his relationship with NuVasive and after.

This Court should not indulge NuVasive’s speculative fishing expedition and
permit such unfettered access to Defendant’s cell phone records. Accordingly, this

Court should quash the Sprint Subpoena.

RELIEF REQUESTED

Based on the forgoing, Defendant requests that this Court quash NuVasive’s
Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
of Premises in a Civil Action directed to Sprint Spectrum, L.P. dated July 17,

2019, and for any further relief this Court deems proper.
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Dated this August 14, 2019.

Respectfully submitted,

TIMOTHY DAY
By his attorneys,

/s/ Steven D. Weatherhead

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{s/ Bryan E. Busch
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EXHIBIT A

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NUVASIVE, INC.
Plaintiff,
v.

ADAM RICHARD

Defendant.

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Civil Action No. 1:19-ev-19995

 

NOTICE OF ISSUANCE OF SUBPOENA

Please take notice that Plaintiff, NuVasive, Inc. issued Subpoenas Duces Tecum to Sprint |

Spectrum, L.P., Vendormate, Inc., Intellicentrics, Inc., and Vendor Credentialing Service LLC

d/b/a Symplr requiring the production of certain documents, things and devices, but does not

require oral testimony. Copies of the Subpoenas are attached as collective Exhibit | hereto.

779794.1/020190666

 
 

Respectfully submitted,
yf

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Attorneys for Plaintiff, NuVasive, Inc.
CERTIFICATE OF SERVICE

I hereby certify that on July 18, 2018, a copy of the foregoing was served via email and
U.S. Mail, postage pre-paid, on:

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AO 88B (Rev. 12/13} Subpoena to Produce Documents, {nformation, or Objects or to Permit lnspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

NuVasive, Ine.

 

 

)
Piaintify )
v. ) Civil Action No, 1:19-cv-10995
Adam Richard }
)
Defendant }

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Sprint Spectrum, L.P.

 

{Name af person to whom this subpoena is directed)

os Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling cf the
maierial: All subscriber information, billing information, features, originating/outgoing calls, terminating/incoming calls,
and SMS/MMSitext/data for (561) 305-3541 from January 1, 2018, through the present. To further clarify, this
subpoena does not request the content of any such communication

 

Place: Gullett, Sanford, Robinson & Martin, PLLC Date and Time:
150 Third Avenue SQuth, Suite 1700 .
Nashville, TN 37204 08/18/2013 10:00 am

 

 

 

 

(} Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed, R, Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: __ 07/17/2019

 

CLERK OF COURT

 

Signature of Clerk or Deputy Clerk

 

 

 

The name, address. e-mail address, and telephone number of the attorney representing (name of parry) Plaintiff

NuVasive, Ine. , who issues or requests this subpoena, are:

M. Thomas McFarland, 150 Third Avenue South, Suite 1700, Nashville, TN 37201, trcfarand@gsrm.com

 

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the

it is directed. Fed. R. Civ. P. 45(a\(4). EXHIBIT

 

 

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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objecis or to Permit Inspection of Premises in a Civil Action (Page 2}
Civil Action No, 1:18-cv-10800

PROOF OF SERVICE
{This section should not be filed with the court unless required by Fed. R. Civ, P. 45.)

i received this subpoena for (name of individual and title, if any)

 

On (date)

0 | served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

{J { returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered fo the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

1 declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, (information, or Objects or to Permit inspection of Premises in a Civil Action{Page 3}

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance,

(1) For @ Trial, Hearing, or Deposition. A subpoena may command a
person io aitend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person: or
{B} within the slate where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is @ party or a party’s officer; or
{i} is commanded to aitend a trial and woutd net incur substantial
expense,

(2) For Otter Discavery, A subpoena may corimand:

(A) production of documents, electronically stored information, or
tangible things ata place within 100 miles of where the person resides, is
employed, or regularly transaets business in person: and

{B} inspection of premises at the premises to be inspected.

{d) Protecting a Person Subject to 2 Subpoenas Enforcement,

(1) Avoiding Undwe Burden ar Expense; Sanctions. A party or atiomey
responsible for issuing and serving a subpoena must take reasonable sleps
fo avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance ts required must
enforce this duty and intpose an apprepriate sanction—which may include
jost comings and reasonable attorney's fees—on a party or attorney who
fails to comply.

(2) Command to Produce Matertats or Permit fuspection.

{Aj Appearance Net Required. A person commanded to produce
documents, electronically stored in formation, or tangible things, or to
permit the inspection of premises, need nol appear in person at lhe place of
production or inspection unless also commanded fo sppear for a deposition,
hearing, or trial.

(B) Objections, A person commanded io produce documents or tangible
things oF to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or io inspecting the premises—or to
producing electronically stored information in the fonn or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served, fan objection is made,
ihe following rules apply:

(i) Al any lime, on notice to the commanded person, the serving party
tay move the court for the district where compliance is required for an
order compelling production or inspection.

{it} These acts may be required only as directed in the order, and the
order musi protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance,

(3} Quashing or Modifving a Subpoena.

{A} When Required. On timely motion, the court for the district where

compliance is required must quash or modify 2 subpoena that:

(i} fails to allow a reasonable time to comply:

{il} requires a person to comply beyond the geographical limits
specified in Rule 45(c)}:

(iil) requires disclosure of privileged or other protected matter, if no
exception or waiver applies: or

(iv) subjects a person to undue burden.

(B) When Permitied. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information: or

(il) disclosing an unretained experi’s Opinion or information that does
not describe specific oceurrences in dispute and results from the expert's
study thal was not requested by a party,

(C) Specifping Conditions as an Atiernative. In the circumstances
described in Rule 45(d)(3\(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party: :

(i) shows a substantial need for the testimony or material that cannot be
otherwise mei without undue hardship: and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena,

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

{A} Documents, A person responding to a subpoena te prodace documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories fn the demand.

(8) Form for Producing Electronicatly Stored Information Not Specified
Ha subpoens does not specify a form for producing electronically stored
information, the person responding must produce if in a form or forms in
which it is ordinarity maintained or ina reasonably usable form or forms.

(C) Blectronicatly Stored lnformation Produced in Only One Form, The
person responding need not produce the same electronically stored
information in more than one form.

{D) inaccessible Blectronicalty Stored Information, The person
responding need nol provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery fram such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b}(2)(C). The court may specify conditions for the discovery,

(2) Claiming Privilege or Protection.

(A) information HGthhetd. A person withholding subpoenaed information
under a claim that it is privileged or Subject ta protection as trial-preparation
material must:

(i} expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner thal, without revealing information itself
privileged or protected, will enabie the parties to assess the claim.

(B) yformation Produced. if information produced in response io a
Subpoena is subject to a claim of privilege or of protection as
wial-preparation msterial, the person making the claim may notify any party
thal received the information of the claim and the basis for it, Afler being
notified, a party must promptly rewra, sequesler, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable Steps to retrieve the
information if the party disclosed it before being notified: and may promptly
present the information under seal to the court for the district where
complianes is required for a determination of the claim. The person who
produced the information musi preserve the information until the claim is
resolved.

{g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court-—may hold in contempt a person
who, having been served, fails without adequate excuse io aby the
subpoens or an order related to it.

 

For access to subpoena materials, see Fed, R. Civ. P. 45(a} Committee Note (2033).

 

 

 

 

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CERTIFICATE OF SERVICE

I, Bryan E. Busch, hereby certify that this document, filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on August 14, 2019.

/s/ Bryan E. Busch

 
